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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


THE MAYA GROUP, INC.,

        Plaintiff,                                        Case No.: 1:19-cv-04690

v.                                                        Judge Robert M. Dow, Jr.

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE
“A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 155                                     yangfushan
                 161                                     ewiowuwe
                 163                                       piqzmx
                 172                                        dd111
                 186                                     eideahome
                 189                                      hi-gobuy
                 190                                  homeproduct_sell
                 191                                      hopeshine
                 194                                     ideacharms
                 199                                     mic-supply
                 200                                     newadvisor
                 206                                  onlinebuy_world
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         209                                 qxmc6916
         212                                 shsupplier
         215                               splendid-suns
         224                                villagehead
         225                                 wemobile
         227                                yaloofashion
         228                               yideashopping
         229                                  youidea
         230                                  ywgate
          26                                   glass
          52                                  candyv
          48                                   wazi
          42                          义务乾屿电子商务商行
         153                                wuyanfeng
          73                           thecovenantoftheelves
         150                                  haoleioo
          79                              yuyuancompany
          24                            凡尘玩具有限公司
          96                                   brave
          38                                  liulihua
         445                                Kingot Store
         492                               IHONG Store
          98                                  huyingd
         153                                wuyanfeng
         151                                 rossettifei
         178                       *best*usa*deal* / wow_us_store
         204                            ologymart_autoparts
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DATED: September 29, 2019                   Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-04690 Document #: 28 Filed: 09/29/19 Page 4 of 4 PageID #:1910




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 29, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
